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 7

 8                              UNITED STATES DISTRICT COURT
 9
                               EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                     ) Case No.: 1:16-cr-00122-DAD-BAM
12                                                 )
                                                   ) EX PARTE APPLICATION FOR ORDER
13                         Plaintiff,              ) EXONERATING BOND; ORDER
                                                   )
14   vs.                                           )
                                                   )
15
     ALFONSO ESPARZA,                              )
                                                   )
16                                                 )
                           Defendant.
17

18

19          Defendant, ALFONSO ESPARZA, by and through his attorney of record, David

20   Balakian, hereby requests an order exonerating the outstanding property bond posted in this

21   action. Deed of Trust number 20160104499, dated August 10, 2016, Trustor Nalene Esparza, an
22   unmarried woman.
23          On March 25, 2019, sentence was imposed, whereby Defendant was ordered to serve 120
24   months in federal custody. At the sentencing hearing, Defendant was remanded into federal
25   custody.
26          Accordingly, exoneration of bond and reconveyance is requested.
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                     EX PARTE APPLICATION FOR ORDER EXONERATING BOND; ORDER - 1
          Case 1:16-cr-00122-DAD-BAM Document 340 Filed 04/02/19 Page 2 of 2


 1          Dated: April 1, 2019                       /s/ DAVID BALAKIAN
                                                       David Balakian,
 2
                                                       Attorney for Defendant,
 3                                                     ALFONSO ESPARZA

 4
                                               ORDER
 5

 6
            It appearing that defendant Alfonso Esparza has been remanded into custody in Case
 7
     Number 1:16-CR-00122-DAD-BAM, bail is hereby ordered exonerated and the following
 8
     property reconveyed:
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10
            Deed of Trust number 2016-0104499, dated August 10, 2016, Trustor Nalene Esparza, an

11   unmarried woman.

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13          IT IS SO ORDERED.

14
     Dated: April 2, 2019                                      /s/ Barbara A. McAuliffe
15                                                     UNITED STATES MAGISTRATE JUDGE
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                    EX PARTE APPLICATION FOR ORDER EXONERATING BOND; ORDER - 2
